
73 N.Y.2d 756 (1988)
Theresa O'Keeffe, Individually and as Administratrix of The Estate of David O'Keeffe, Deceased, Respondent,
v.
State of New York, Appellant. (Claim No. 60112.)
Theresa O'Keeffe, Individually and as Administratrix of The Estate of Thomas J. O'Keeffe, Deceased, Respondent,
v.
State of New York, Appellant. (Claim No. 60113.)
Theresa O'Keeffe, Individually and as Administratrix of The Estate of Mark O'Keeffe, Deceased, Respondent,
v.
State of New York, Appellant. (Claim No. 60114.)
Court of Appeals of the State of New York.
Submitted August 15, 1988.
Submitted August 29, 1988.
Decided November 22, 1988.
Judge HANCOCK, JR., taking no part.
Motion to dismiss the appeal granted and appeal dismissed, without costs, upon the ground that the prior nonfinal Appellate Division order does not necessarily affect the final judgment as required by CPLR 5601 (d) because the sole issue decided by that prior nonfinal order which would have limited the issues on retrial was conceded by appellant.
Motion for leave to appeal denied.
